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15                       IN THE UNITED STATES DISTRICT COURT
16                             FOR THE DISTRICT OF ARIZONA
17
18   United States of America,
                                                       CR-18-00422-5-PHX- SMB (BSB)
19                        Plaintiff,
            vs.
20                                                         MOTION TO CONTINUE
                                                              SENTENCING
21   Dan Hyer,
                                                                (Second Request)
22                        Defendant.

23
24
           The United States of America hereby requests this Court continue the sentencing
25
     currently set for May 20, 2019, at 3:30 p.m. for defendant Dan Hyer for a period of six
26
     months because it is in the interest of justice. Counsel for defendant has no objection to
27
     this motion.
28
      Case 2:18-cr-00422-DJH Document 518 Filed 04/05/19 Page 2 of 2



 1         Respectfully submitted this 5th day of April, 2019.
 2                                           ELIZABETH A. STRANGE
                                             First Assistant United States Attorney
 3                                           District of Arizona
 4                                           /s Kevin Rapp
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                                             Child Exploitation and Obscenity Section
12
13
14                              CERTIFICATE OF SERVICE

15         I hereby certify that on this same date, I electronically transmitted the attached
     document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a
16   Notice of Electronic Filing to the following CM/ECF registrants:

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22   s/Angela Schuetta
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